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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                               Case No: 3:22-mj-1074 (SDV)

               v.

CHRISTOPHER BATES JR.                                  December 14, 2022



               JOINT MOTION TO CONTINUE PRELIMINARY HEARING

       The parties in the above-captioned matter respectfully move to continue the preliminary

hearing to March 13, 2022 (which is 90 days from yesterday’s initial appearance). Additionally,

counsel for Mr. Bates indicates that Mr. Bates has been advised of his rights to a speedy indictment

and trial and has executed a speedy trial waiver, which is attached to this motion.

       The basis for this motion is that the parties are engaged in discussion that may obviate the

need for a preliminary hearing and trial; the government is still preparing discovery for the defense

to review; and the defense is exploring certain issues that may be relevant to a potential resolution.

       Accordingly, the parties request an extension of the time within which a preliminary

hearing should be held and within which an indictment or information must be filed.

       WHEREFORE, the parties respectfully request that the preliminary hearing be continued

to March 13, 2022, that the Court find the requested continuance is in the defendant’s best interest

and outweighs the public interest in a speedy trial, and that the Court exclude the period from

December 14, 2022 until March 13, 2023 from the Speedy Trial Act calculations.
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                                Respectfully submitted,

                                VANESSA ROBERTS AVERY
                                UNITED STATES ATTORNEY


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 14, 2022, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                              /s/ Neeraj N. Patel
                                              Neeraj N. Patel
                                              Assistant United States Attorney
